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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      PIKEVILLE

   LONNIE MICHAEL RATLIFF,                       )
                                                 )
         Plaintiff,                              )
                                                 )            No. 7:20-CV-68-REW
   v.                                            )
                                                 )
   LOWE’S HOME IMPROVEMENT,                      )                   ORDER
   LLC, et al.,                                  )
                                                 )
          Defendants.                            )

                                       *** *** *** ***

          The Court has reviewed the docket in this case and requires clarification on issues

   related to subject-matter jurisdiction.1 Specifically, the Court requires additional briefing

   concerning Defendants’ removal-notice allegations of fraudulent joinder. See DE 1.

   Diversity-based removal generally requires “plausible allegation[s]” of complete

   diversity and a sufficient amount in controversy. Naji v. Lincoln, 665 F. App’x 397, 400

   (6th Cir. 2016) (citation omitted). The removing party—here, the defense (Lowe’s)—

   “bears the burden[.]” Eastman v. Marine Mech. Corp., 438 F.3d 544, 549 (6th Cir. 2006).

   The defense acknowledges that a current Defendant, James Little, like Plaintiff Ratliff (at




   1
     The Court undoubtedly has an omnipresent “duty to consider [its] subject matter
   jurisdiction in regard to every case and may raise the issue sua sponte.” Answers in
   Genesis of Ky., Inc. v. Creation Ministries Int’l, Ltd., 556 F.3d 459, 465 (6th Cir. 2009);
   see also Hertz Corp. v. Friend, 130 S. Ct. 1181, 1193 (2010) (“Courts have an
   independent obligation to determine whether subject-matter jurisdiction exists, even
   when no party challenges it.”).
                                                1
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   least, as a fair inference),2 is a Kentucky citizen. DE 1 ¶ 10. Nonetheless, Defendants

   allege Plaintiff fraudulently joined Little and that the Court may disregard his inclusion

   for removal purposes. To properly tee the issues up for assessment and adjudication,

   Plaintiffs must fully address all topics related to these allegations.

          Accordingly, and on these terms, the Court ORDERS Plaintiff to respond to this

   Order within 10 days,3 submitting any relevant proof and addressing all implicated

   topics. Defendants may respond within 7 days of Plaintiff’s filing. Upon Defendants’

   filing, or expiration of either deadline absent a timely submission, the matter will stand

   submitted.

          This the 1st day of June, 2020.




   2
       Defendants claim, and the complaint alleges, that Ratliff “resides in the
   Commonwealth.” DE 1 ¶ 5; see DE 1-1 ¶ 2. However, residence, for § 1332 purposes, is
   not synonymous with citizenship. See Kaiser v. Loomis, 391 F.2d 1007, 1009 (6th Cir.
   1968) (“Citizenship for purposes of the diversity statute is synonymous . . . with
   domicile.” (citation and quotation marks omitted)). Nonetheless, Defendants particularly
   allege that Plaintiff’s claims, excepting Little, are “between diverse citizens[.]” DE 1 ¶
   18. On the whole, the Court views the removal notice as plausibly alleging that Plaintiff
   is a Kentucky citizen.
   3
     The Court recognizes that this is a somewhat accelerated briefing schedule. However,
   Plaintiff has had notice of Defendants’ fraudulent joinder allegations since this case
   arrived in federal court.
                                                  2
